       Case 6:20-cv-00327-JDK-KNM Document 1 Filed 06/17/20 Page 1 of 19 PageID #: 1

 RISONER S CIVIL RIGHTS COMP AINT (Rev. 05/2015)
                                                                                                                      •• i
                                 IN THE UNITED STATES DISTRICT COjtlfer j|JM 1 ? 21
                              FOR THE DISTRICT OF TEXAS
                                                                                                               \{ r/
                                            DIVISION


Plaintiff s Name and ID Number


Place of Confinement
                                                                         CASE NO.   6:20CV327 JDK/KNM
                                                                                (Clerk will assign the number)
v.




                   f/ ///XCcftt /cf {//>/ /3.66/Art.IdSVj re i * Co/o v'y /X, ? V,
Defendant’s Name and Address


                                                            /emic-
Defendant’s Name and Address
( DO NOT USE ET AL. )

                                     INSTRUCTIONS - READ CAREFULLY

NOTICE:

Your complaint is subject to dismissal unless it conforms to these instructions and this form.

1. To start an action you must file an original and one copy of your complaint with the court. You should keep
a copy of the complaint for your own records.

2. Your complaint must be legibly handwritten, in ink, or typewritten. You, the plaintiff, must sign and declare
under penalty of perjury that the facts are correct. If you need additional space, DO NOT USE THE REVERSE
SIDE OR BACKSIDE OF ANY PAGE. ATTACH AN ADDITIONAL BLANK PAGE AND RITE ON IT.

3. You must file a separate complaint for each claim you have unless the various claims are all related to the same
incident or issue or are all against the same defendant, Rule 18, Federal Rules of Civil Procedure. Make a short and
plain statement of your claim, Rule 8, Federal Rules of Civil Procedure.

4. When these forms are completed, mail the original and one copy to the clerk of the United States district court
for the appropriate district of Texas in the division where one or more named defendants are located, or where the
incident giving rise to your claim for relief occurred. If you are confined in the Texas Department of Criminal
Justice, Correctional Institutions Division (TDCJ-CID), the list labeled as VENUE LIST is posted in your unit
law library. It is a list of the Texas prison units indicating the appropriate district court, the division and an address
list of the divisional clerks.



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FILING FEE AND IN FORMA PAUPERIS (IFF) .

1. In order for your complaint to be filed, it must be accompanied by the statutory filing fee of $350.00 plus an
administrative fee of $50.00 for a total fee of $400.00.

2. If you do not have the necessary funds to pay the fee in full at this time, you may request permission to proceed
in forma pauperis. In this event you must complete the application to proceed in forma pauperis, setting forth
information to establish your inability to prepay the fees and costs or give security therefor. You must also include
a current six-month history of your inmate trust account. If you are an inmate in TDCJ-CID, you can acqui e the
application to proceed in forma pauperis and the certificate of inmate trust account, also known as in forma
pauperis data sheet, from the law library at you prison unit.

3. The Prison Litigation Reform Act of 1995 (PLRA) provides ... if a prisoner brings a civil action or files an
appeal in forma pauperis, the prisoner shall be required to pay the full amount of a filing fee. See 28 U.S.C.
§ 1915. Thus, the cou t is required to assess and, when funds exist, collect, the entire filing fee or a initial partial
filing fee and monthly installments until the entire amount of the filing fee has been paid by the prisoner. If you
submit the application to proceed in forma pauperis, the court will apply 28 U.S.C. § 1915 and, if appropriate,
assess and collect the entire filing fee or an initial partial filing fee, then monthly installments from you inmate trust
account, until the entire $350.00 statutory filing fee has been paid. (The $50.00 administrative fee does not apply
to cases proceeding in forma pauperis.)

4. If you intend to seek in forma pa peris status, do not send your complaint without an application to proceed
in forma pauperis and the certificate of inmate trust account. Complete all essential paperwork before submitting
it to the court.

CHANGE OF ADDRESS

It is your responsibility to inform the court of any change of address and its effective date. Such notice should be
marked NOTICE TO THE COURT OF CHANGE OF ADDRESS and shall not include any motion for any
other relief. Failure to file a NOTICE OF THE COURT OF CHANGE OF ADDRESS may result in the dismissal
of your complaint pursuant to Rule 41(b), Federal Rules of Civil Procedure. I.


I. PREVIOUS LAWSUITS: /
        A. Have you filed any other lawsuit in state or federal court relating to your imprisonment? YES v NO

        B. If your answer to “A is “yes , describe each lawsuit in the space below. (If there is more than one
             lawsuit, describe the additional lawsuits on another piece of paper, giving the same infon ation.)

             1. Approximate date of filing lawsuit:
            2. Parties to previous lawsuit:
                Plaintiff(s)
                Defendant(s)
            3. Court: (If federal, name the district; if state, name the county.)
            4.             Cause                                     number:

            5. Name of judge to whom case was assigned:
            6. Disposition: (Was the case dismissed, appealed, still pending?)
            7. Approximate date of disposition:

                                                                                                        Rev. 05/15
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II. PLACE OF PRESENT CONFINEMENT: / / r AWr//y*//                               /    s , essee Coh . 7x

III. EXHAUSTION OF GRIEVANCE mOCEDURESiM - X                                        rs srAJ j5 LaE£M M.
     Have you e hausted all steps of the institutional grievance procedure? YES NO
     Attach a copy of your final step of the grievance procedure with the response supplied by the institution.
     ,SE£//IBITS;
IV. PARTIES TO THIS SUIT:
     A. Name and address of plaintiff: tfcyueM J Mf/es / Z/> /9/JS38 af/At M Caf-ffe/c/
         tJn/V     66'/ EM. 20$V/ 7htf/?essee Ca/Gsij/y Z> 7 & L.



     B. Full name of each defendant, his official position, his place of employment, and his full mailing address.


        Defendant # 1: /.arle pav/s                        D/Yecfor nf C fiYi cti iTfjs /ce.
        dorr& r it tom a! In. t     /'/o r> Div/si/m (TDCrf-ClPh fi. )*             O 9 9 / wf , 7k. 773¥A
        Briefly describe the act(s) or omission(s) of this defendant which you claimed harmed you.
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        Defendant #2: E&i/ o+l          PuincjM J eac/ M/arn/ei nP EnPPtV/r/ / / 2 /:/ F„M<. aS1/
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        Briefly describe the acts(s) or omission(s) of this defendant which you claimed harmed you.
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        Briefly describe the acts(s) or omission(s) of this defendant which you claimed harmed you.
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        Briefly describe the act(s) or omission(s) of this defendant which you claimed harmed you.
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        Defendant #5: .T r) D t / tlrtiversll of TeKcts El c//ca/ Bra/icA (UTMEYto                         f / crsp
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        Briefly describe the act(s) or omission(s) of this defendant which you claimed harmed you.
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 V.     STATEMENT OF CLAIM:
       State here in a short and plain statement the facts of your case, that is, what happened, where did it happen,
       when did it happen, and who was involved. Describe how each defendant is involved. You need not give
       anv legal arguments or cite any cases or statutes. If you intend to allege a number of related claims, number
       and set forth each claim in a separate paragraph. Attach extra pages if necessary, but reme ber the
       complaint must be stated briefly and concisely. IF YOU VIOLATE THIS RULE, THE COURT MAY
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VI. RELIEF: S££ -£ u&-iL                         c£ 2Mfy£s MJ!Aa i&y}jO&r7 suhs£ci/<2n$ ¥
       State briefly exactly what you want the court to do for you. Make no legal arguments. Cite no cases or

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VII. GENERAL BACKGROUNDINFORMATTON: J f apprcpr/a/o
       A. State, in complete form, all names you have ever used or been known by ncluding any and all aliases.

                                        .                                             .



       B. List all TDCJ-CID i entif cation numbers you have ever been assigned and all other state or federal
          prison or FBI numbers ever assigned to you.




VIII. SANCTIONS:
      A. Have you been sanctioned by any cour as a result of any lawsuit you have filed? ES NO
      B. If your ans er is yes, give the following information for every la suit in which sanctions were
          imposed. (If ore than one, use another piece of paper and answer the same questions.)

          1. Court that mposed sanctions (if federal, give the district and division):
          2. Case numbe :

          3. Approximate date sanctions were imposed:

          4. ' Have the sanctions been lifted o otherwise satisfied?                                 YES        NO

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(ConHn e 'X .i STATf/V MT OF ClAI/i)

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      C. Has any court ever warned or notified you that sanctions could be imposed?                      YES ; NQ

      D. If your answer is yes, give the following information for every lawsuit in which a warning was issued.
           (If more than one, use another piece of paper and answer the same questions.)

          1. Court that issued warning (if federal, give the dist ict and division):
          2.             Case                                number:

          3. Approximate date wa                                          ing was issued:



Executed on: tfane IX) ZO-ZO,                                                niucm J Mil s
                DATE

                                                                              (Signature of Plaintiff)


PLAINTIFF S DECLARATIONS

       1. I declare under penalty of perjury all facts presented in this complaint and attachments thereto are true
          and correct.
       2. I understand, if I am released or transferred, it is my responsibility to keep the court infor ed of my
            current mailing address and failure to do so may result in the dismissal of this lawsuit.
       3. I understand I must exhaust all available administrative remedies prior to filing this lawsuit.
       4. I understand I am prohibited from brining an in forma pauperis lawsuit if I have brought three or more
          civil actions or appeals (from a judgment in a civil action) in a court of the United States while
            incarcerated or detained in any facility, which lawsuits were dismissed on the ground they were
            frivolous, malicious, or failed to state a claim upon which relief may be granted, unless I am under
            imminent danger of serious physical injury.
       5. I understand even if I am allowed to proceed without prepayment of costs, I am responsible for the entire
            filing fee and costs assessed by the court, which shall be deducted in accordance with the law from my
            inmate trust account by my custodian until the filing fee is paid.



Signed this      ii l1               day of Jun                       , 20
                     (Day)                   (month)                         (year-)



                                                                        Key u art J Mtle
                                                                        KO f< /? A AA
                                                                              (Signature of Plaintiff)


WARNING: Plaintiff is advised any false or deliberately mi leading information provided in response to the
above questions may result in the imposition of sanctions. The sanctions the court may impose include, but
are not limited to, monetary sanctions and the dismis al of this action with prejudice.




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                     Texas Departme t of Criminal J s ice                                        OFFICE USE ONLY
                                                                                         Grievafice #:

                                                                                           ale eceived: I fcB l li IIj
                       STEP 1 GRIEVANCE FORM                                                                /h /z*f)
                                                                                         Date D e:.
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                               (. SeteemiAC} rNer ,'<y/                                  Grievance Code: ...
                                                                                                                    do
=jQlfe»4 r Nsirae: .J£QJj /!L. ??AteS___                  TDCJ # /9/ .3J8                Investi ator ID #: _

 Unit: Coff' eio/ G/ . 00 f Hous ng Assignment: fi~ J/A '/                               Exte sion Date:

 Unit where incident occurred: ?Jn//                                                     Date Ret to Offender                3 2020
You must try to resolve yroiir prdMern with a staff member before you submit a fo mal complaint. The onl exception is when
appealing the results of a disci linary hearing. Thcr /fnd t»U                                                                        .. ?
Who did you talk to (name, title)? l/nj/ CAa /es /) ct/ er -fA »t/aA Z /o Ao j i.S-l When?                            feb-
 What was their response? A/n repl / \/ el /-/6 /t't yviS / *,(/' A As //// Gr fiiilatA/t
What action as taken? S/oA/f y '' brces 9a /t'/t .n'e y&nc                               / cy/o c Z /iasAer /ssAses „

 State your grievance in the space provided. Please state who, what, when, where and the disciplinary c se number if appropriate
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1-127 Front (Revised 11-2010) YOUR SIGNATURE IS EQUI ED ON BACK OF THIS FO M                                                    (OVER)

                                                                                                                           Appendix F
            Case 6:20-cv-00327-JDK-KNM Document 1 Filed 06/17/20 Page 10 of 19 PageID #: 10




           The unit food service department has no control over which religious diets are served and which
           are not. You are advised to contact the food service department in Huntsville concerning the issue
           of there not being a Halal religious diet available on the units. No further action warranted at this
           time.




Signature Authority: uycxf P siCij' Date: „
If you arc dissatisfied wiili the Step 1 res onse, you may submit a Ste 2 (1-128) to the Unit Grievance Investigator within IS days from the date of the Step 1 res onse.
Shite the reason for a eal on the Step 2 Foj m. , • - , *

Returned because: *Resnbniit this form whe (be corrections aye made.

    l. Grievable time period has expired.
I ! 2. S bmissi n in excess of 1 eve y 7 ays. *                                                                           OFFICE USE ONLY
                                                                                                               Initial Submission UGI Initials: .
Pi 3. Originals not s bmitted. *
                                                                                                               Grieva ce #:
I 1 4. Inap ro riate/E cessive attachments. *
                                                                                                               Screening Criteria Used: _
    5. No ocumented att mpt at informal resol tion. *
                                                                                                               D te Ree from Offender: _
    6. N requeste relief is stated. * •
                                                                                                               Date Returne to Offender:
PI 7. Malicious use of vul ar,, indeeei.if.oi'physically threatening lang age., * •- ,
                                                                                                               l Suhmission UG1 initj|als._
f] 8. The issue presenle is n t grievable.                                                                     G ievgilce •'v                          ;    . L,

FI 9. Redundant, Refer to griev nce II                                                                         Screeni g Criteria Use : ,
fjj 10. Illegible/Incomprehensible. *                                                                          Date Reed from Offender:
Oil. Inappropriate. *                                                                                          Date Retur e                 to Offender:

UGI Pri ted Name/Signature:                                                              '    J                V-Sub. ission UGI Initials:
                                                                                                               Grievance                          II:         :
Application of the scre ning crit ria for this rieva ce is not ex ected to adversely                           Screening Criteria Use :
Affect the offender s health.
                                                                                                               Date Ree              from Offender:

Medical Signature Authority:                                                                                   Date Returne                 t   Offender:

1 27 Back (Revised 11-2010)
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         Case 6:20-cv-00327-JDK-KNM Document 1 Filed 06/17/20 Page 11 of 19 PageID #: 11

                                                                                                    OFFICE USE ONLY

                           Texas Department of Criminal Justice                               Grievance #   QJ< c )dto
                                                                                              UGIRecd Date        YM D 9 2020
                        STEP 2                                                                HQ Reed Date:       MAR 1 2 2020
                                                    GRIEVANCE FORM                            Date Due:

-OffenderName: X i;r/J /A/ A?//<?.< TDCJ # /9/3338                                            Grievance Code:.    s
Unit: Cn fPiefc/                Housing Assignment: 2/8-T                                     Investigator ID#:

Unit where incident occurred: / Aotf/'o e hcy £ rj/s?              /'<y/Sot? c/*-><- /        Exten ion Date:        iM
         You must attach the completed Step 1 Grievance .          en signed by the Warden for your Step 2 appeal to be
        accepted. You may not appeal to Step 2 with a Step 1 that as been returned unprocessed.


Give reason for appeal (Be Specific). I am dissatisfied with the response at Step 1 because
        7%At a/OT/A6~ nP jcniA A 'ceA//j'                              er/a/hs Ao A - ?? /nr's? ? A

rj>A f/?n r '/ f / /h/V/ffre flm/& // >A< /v 0/c/ /r S.S / S -J                     c/e

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            Case 6:20-cv-00327-JDK-KNM Document 1 Filed 06/17/20 Page 12 of 19 PageID #: 12




¦©ffettdej Signature:                               L                                      Date: h a c                           010
Grievance Response




               Yoiir gnevance Kas jeeif fevleweR The' ClTaplamcy'p'o am :telt"be'admlntstefed' y tlTe d pxily "directOT
               of-Religious-Ser-viGes5-Rehabilitation Progi-amPivisioii RED)x-The-R D-de uty„dii:ector-of.Jlel.igious
               Seryices may further delegate responsibility and duties to appropriate administrators within the RPD to
               develop and coordinate religious policies and programming. No further action is warranted.



                        _                                                                   JJata:
                                                                                       ri'ii cri: i jy.-2 < i .T • K •


signature Authorityi fV\R M- LEWANDOWSKI                                                   Date:

Returned because: *Resubmit this form when corrections are made.                                        OFFICE USE ONLY
                                                                                    Initial Submission CGO Initials:
 CD 1. Grievable time period has expired.                                           Date UGI Reed:

 ED 2. Illegible/Incomprehensible.*                                                 Date CGO Recd:_
                                                                                       (check one) Screened Improperly Submitted
 Q 3. Ori inals not submitted. *
                                                                                    Comments:
Cl 4. Inappropriate/Excessive attachments.*                                         Date Retu                            ed to Offender:

 C3 5. Malieious use of vulgar, indecenty or physically threatening language;       2 Submission                             CGO Initials:
                                                                                    Date UGI Reed:
       6. Inappropriate.                                         -      •
                                                                                    Date CGO Reed:
                                                                                       (check one) Screened Improperly Submitted
                                                                                    Comment                                     :            -


CGO Staff Si nature:                                              -- -         -    .Date Retu                           ed.to Offender:.

                                                                                    3111 Submission                          CGO Initial :
                                                                                    Date UGI Reed:
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Case 6:20-cv-00327-JDK-KNM Document 1 Filed 06/17/20 Page 13 of 19 PageID #: 13




           EXHIBIT : 0

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        Case 6:20-cv-00327-JDK-KNM   Document
                               ab Data           1 Filed
                                       Imported From UTMB06/17/20   Page
                                                           - Galveston Lab 14 of 19 PageID #: 14
                                                                           System

Patient Name     MILES, KOJUAN J
Patient Id        1912338
Patient Phone
Date of Birth     09/26/1989
SS#                     Sex : Male

Ordering
Physician : COMEAUX, DANIEL
F cility : COFFIELD (CO)
                  5 MI SW OF TC FM 2054
                  TENN. COLONY TX 75884


Test        ame Result ABN Unit Reference LAB
                             Flag Range ID

Accession: 20H-037S0404 Requisition: C74042210001
Drawn:02/06/20 05:05 Received:02/07/20 00:14 Reported: 02/07/20 11:26

Procedure: HELICOBACTER PYLORI AB, IGG
     egative - No H. pylori IgG antibody detected.
    Positive - Indicates presence of detectable IgG antibodies. Does not
    distinguish between past or current infection, or between active infection
      and colonization.
      Invalid - A second sample should be sent.
      Negative - No H. pylori IgG antibody detected.
      Positive - Indicates presence of detectable IgG antibodies. Does not
      distinguish between past or current infection, or between active infection
      and colonization.
      Invalid - A second sample should be sent.
HELICOBACTER PYLORI IGG Positive A Negative HG


Test Performed at: HG
UTMB Lab Pathology Clinical Services
301 University Boulevard
Galveston, TX 77555 Barbara J. Bryant, MD



L Low, LL Panic Low, H High, HH Panic High, A Abnormal, AA Panic




Print Date: 02/07/2020 11:38 Page: 1/1
Electronically Signed by COME UX, DANIEL F. PA on 02/07/2020.
##And No Others##
Case 6:20-cv-00327-JDK-KNM Document 1 Filed 06/17/20 Page 15 of 19 PageID #: 15




           E ibit :
       TOC 7 AN T/iS acfmtAtstre h'ons

                         Unsafe Wet-fef
         G evance. /o • exoo 7$55 O
         Case 6:20-cv-00327-JDK-KNM Document 1 Filed 06/17/20 Page 16 of 19 PageID #: 16
                   Texas Department of Criminal Ju tice                                       OFFICE USE ONLY
                                                                                      Grievance #:
                      c OFFENDER                                                      Date Received:.         :-r
                      Si I F 1 GRIEVANCE FORM
                                                                                      Date Due:
                                  ("NOTICE )                                          Grievance Code     k    J1 I

Offe der Name: X O t/MA/ M//.£'> TDCJ #                                               Investigator I #

Unit: n PPif> Id . PA. />/¦> <2 Housing Assi nment: f?-2/8-7                          Extension Date

 nit where incident occurred: ltj.om                                                  Date Retd to Offen e,

                                              jOSatL
You must try to resolve your problem with a staff member before you submit a formal complaint. The only exception is hen
appealin the results of disciplinary hea in .
Who did you talk to (name, title)? Ave? L//n> J)-8d /2<**/jes When? 7ch. .Sj 2 020
What was their response? CcPP ctd A /), Pro Agir Con Arttg, jPe**yi Oe-s/ / g. or M                                  /ari / et c .
Wh t action was taken? 7a ete/ esS T CiT-lSnS jAc/ w* / ojrr stsafie turj/ ,                  /ssctes j sio T s*/ec/scc> /

State your grievance in the space rovided. Please st te ho, hat, whe , where and the disciplinary case number if appro riate




                                                                                        re                      iix/j:     n<.

  tr e_ lesk resah . /r> e (xrte t - //> Cnver t/ ) ha c/r>so»Pe



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Jac-J& e£tMJ!j!Mi(£i& d a£C~ 7!                                               %/i NkrxP yLsyCa/2                                     «
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          Case 6:20-cv-00327-JDK-KNM Document 1 Filed 06/17/20 Page 17 of 19 PageID #: 17




Ac ion Requested *, resolve your Complaint.
Dan et U setTC. Jct-hfj ts a vSoiath'an 8jls* fy j Amg eJm i- s re ues C / Orr/c/& /j opro vtc/f s te.

  ateir tA Aefc a>/f fecov elz tc opw <? S/*#ici/eS'$t' -fci i /es ~
                                y         hi             ' £ -                                                   Date:

Grievance Response:




         Your allegations have been investigated. All drinking water is tested daily, with no issues or
         concerns at this time. If you don t feel comfortable with drinking the water, bottled water is
         available for purchase in the Unit Commissary. No further action is warranted.




JSigijature Authority:                                                                        A bub3(:                                    Date:         Y       c .
If you are dissatisfied with the Step 1 res onse, you may submit a Step 2 (I-I28) to the Unit Grievance Investigator ithin 15 days from the ate of the Step 1 res onse.
State           the        reason                for      a     peal          on       the        Step           2    Form,                       s        .   '   '

Returned beca se:.           Resubmit this form when the corrections are made..

    l. Grievable time period has expired.
    2. Submission
        '         in-aCT
                    excess of 1 every 7 days. *                        -y
                                                                                                                         OFFICE USE ONLY
                                                                                                              Initial Sub ission UGI Initials:
LJ 3. Originals not submitted. *
                                                                                                              Grievance #:
    4. Inappropriate/Excessive attachments. *
                                                                                                              Screening Criteria Used:
    5. No documented attempt at informal resolution. * •                                                      S ,
                                                                                                              Date Reed from Offe der: N,
j ~ 16. No requested relief is st ted. * ¦
                                                                                                              Date Returned to Offender:
    7. Malicious use of vulgar, indecent, or hysically threatening language. *
                                                                                                              2 -Submission {jGI initials:
    8. The issue presented is not grievable.
                                                                                                              Grievance                              #
    9. Redundant, Refer to grievance #                                                                        Screening Criteria Used:
    10. Illegible/Incomprehensible. *                                                                         Date Reed from Offender:
    11. Inappropriate. *                                                                                      Date Returned to Offender:

UGI Printed Name/Signa ure:                                                                                   a Submission UGI Initials:
                                                                                                              Grievance #: :
Applicatio of the scree in criteria for this grievance is not ex ecte to a versely                            Screening C ite ia Used: :
Affect t e offender s ealth.
                                                                                                              Date Reed from Offende :
Medical Signature Authorit :                                                                                  Date Returned to Offender:

1-127 Back (Revised 11-2010)
                                                                                                                                                           Appendi F
         Case 6:20-cv-00327-JDK-KNM Document 1 Filed 06/17/20 Page 18 of 19 PageID #: 18
                                                    AS ORIG N L
                                                                                                           APR 2 4 2020
                                                                                                      OFFICE USE ONLY
                          Texas Department of Criminal Justice                                 Grievance #: <2 & 2 O O 7 *£? 3 ) Q

                                                                                               UGI Reed Date:.
                                                                                                                   FEB Wtm
                     1 STEP 2                                                                  HQ Reed Date:.
                                                                                                                   FtB 2 7 ®
                    f /V'OT/ C£ )                   GRIEVANCE FORM                             Date Due:           l-U
                v. / OJU/tfl/                                 TDCJ# /9/X338                    Grievance Code:.       0C
Unit: CePfi'e/J.CO.oot a Housing Assignment: /?- /S:Z,                                         Investi tor ID#:.

Unit where incident occurred: 70,066 r ?cr-/t ew e.<; &-1/. T.M0. ~ s? /jV/no,
                                                                                              yExtension Date
                                             ( fi fh Ad r? '/us raf/cn v)
        Yo must attach the completed Step 1 Grievance that ha been signed by the Warden for your Step 2 appeal to be
        accepted. You may not appeal to Step 2 with a Step 1 that has been returned unprocessed.

Give reason for appeal (Be Specific). / am dissatisfied with the response at Step 1 because... €&<&£££. 3Y}j2007&-J3fi>-0.
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                                                                                                                         Appendix G
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Offen er Signature: _     zorU y                                                         Bate: JEk                 &ZG
Grievance Response:                                        I
                                                          • ->




     Step 1 has addressed your complaint. Records indicate the drinking water at Coffield Unit is
     tested regularly and there are no issues. No further action is warranted.




Si nature Authority: C                           //CJ            L   t J *•              Date: ¦ 3M|afl3Q
Returned because: *Resubmitihis forJ}tmwhen corrections arejnade.                  -     OFFICE USE ONLY
                                                                                   Initial Submission ' CGO Initials:
CD 1. Grievable time period has expired.                                           DateUGI Reed

[13 2. Ille ble/Ipcomprehensible.*                                                 Date 0GO Reed:
                                                                                       (check one) Screene   Improperly Submitted
E 3. Originals not submitted. *
                                                                                   Com                  ents:                ,
[ 4. Inappropriate/E cessive attachments.*
                                                                                   Date etu ed to Offender: -

Q 5. Malicious use of vulgar, indecent, or physically threatening langua e,        21 1 Submission CGO Initials:
                                                                                   Date UGI Reed: •
n 6. Inappropriate.*
                                                                                   Date CGO Reed:
                                                                                       (check one) Screened Improperly Submitted
                                                                                   Comments:

I1 GO Staff Signature:                                                             Date Retu           ed to Offender:

                                                                                   311' .S bmission CGO Initials:
                                                                                   Date UGI Reed
                                                                                   Date CGO Reed: ¦ .
                                                                                                    :        i;;             ¦
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